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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 21-cr-0229-RBJ

 UNITED STATES OF AMERICA,

                         Plaintiff,
 v.
             1. DAVITA INC.,
             2. KENT THIRY,

                         Defendants.

 _____________________________________________________________________________

     [PROPOSED ORDER RE] JOINT MOTION OF THE PARTIES FOR A BRIEF
                   QUESTIONNAIRE TO POTENTIAL JURORS
 ________________________________________________________________________

         This matter comes before the Court on the Parties’ joint motion of February 23, 2022, to

 provide a brief, four-page questionnaire potential jurors. The Court hereby grants the motion.

 Accordingly, it is ORDERED that the Court shall provide the questionnaire at ECF No. 187-1 to

 potential jurors as part of voir dire.

         DATED February ____, 2022.

                                                      BY THE COURT:

                                                     _______________________________
                                                     R. BROOKE JACKSON
                                                     United States District Judge




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